
3 N.Y.2d 812 (1957)
Dwight A. S. Gardner, Respondent,
v.
Ilsa J. Fleckenstein, Doing Business as Fleck Roofing and Insulating Co., et al., Defendants, and Alice E. Olds, Appellant.
Court of Appeals of the State of New York.
Argued May 22, 1957.
Decided July 3, 1957.
Thomas W. Sullivan for appellant.
Delon F. Mousaw for respondent.
Concur: CONWAY, Ch. J., DESMOND, DYE, FULD, FROESSEL, VAN VOORHIS and BURKE, JJ.
Judgment affirmed, with costs; no opinion.
